 Case 2:05-cv-00355-DB Document 188 Filed 02/26/08 PageID.3836 Page 1 of 9




                         IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH - CENTRAL DIVISION


 SEIRUS INNOVATIVE ACCESSORIES,
 INC., a Utah corporation,                                 MEMORANDUM DECISION
                                                           AND ORDER
         Plaintiff,
                                                           Case No. 2:05-CV-355
 vs.

 DO-GREE FASHIONS, LTD., a Canadian                        Judge Dee Benson
 corporation,

         Defendant.


       Plaintiff Seirus Innovative Accessories, Inc. brought this action against Defendant Do-

Gree Fashions, Ltd. alleging that Defendant has infringed and misrepresented its source of

goods, namely ski masks, which is the subject matter protected by Plaintiff’s patents. In its

Complaint, Plaintiff states that not only are the ski masks which it sells protected patents, but

they are also protected trade dress, both of which Defendant has infringed. On February 15,

2008, the Court held a Markman hearing and heard argument by the parties on claim

construction issues as well as Defendant’s Motion for Partial Summary Judgment that Trade

Dress is Not Protectable.

                                          I. Background

       Both Plaintiff and Defendant are in the business of designing and selling ski accessories.

Plaintiff owns four patents on face protective products, U.S. Patent Nos. 4,300,240 (“‘240

Patent”), 4,825,474 (“‘474 Patent”), 5,214,804 (“‘804 Patent”), and 6,272,690 (“‘690 Patent”).

The ‘804 Patent comprises a face mask that can be used for winter sport activities, such as

skiing, skating or biking. The face mask includes a mask member covering a user’s face and a
 Case 2:05-cv-00355-DB Document 188 Filed 02/26/08 PageID.3837 Page 2 of 9




scarf member covering the neck. The mask member is made of a closed-cell neoprene with a

fleece interior lining and a Lycra exterior, and the scarf member is made of a fleece material.

Although similar to the ‘804 Patent, the ‘690 Patent includes a fleece hood-like head member so

that the mask covers a user’s entire head and face, except for the opening made for the eyes. In

its Complaint, Plaintiff alleges that these two patents have been infringed by Defendant. As a

result, it is necessary that the Court construe the disputed terms within the claims of the ‘804

Patent and the ‘690 Patent.

                                      II. Claim Construction

        Claim construction is a matter of law. “[I]n interpreting an asserted claim, the court

should look first to the intrinsic evidence of record, i.e., the patent itself, including the claims,

the specification and, if in evidence, the prosecution history.” Vitronics Corp. v. Conceptronic,

Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996). The terms within the claims must be given their

ordinary and customary meaning according to a person of ordinary skill in the art at the time of

the invention. Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc). The

claim term should be read “not only in the context of the particular claim in which the disputed

term appears, but in the context of the entire patent, including the specification.” Id. In fact, the

specification “is the single best guide to the meaning of a disputed term.” Id. at 1315 (quoting

Vitronics, 90 F.3d at 1582). Finally, the prosecution history of the patent, which contains the

complete record before the Patent and Trademark Office, should be considered and is “often of

critical significance” when construing the claims. Vitronics, 90 F.3d at 1582.

        “In most situations, an analysis of the intrinsic evidence alone will resolve any ambiguity

in a disputed claim term. In such circumstances, it is improper to rely on extrinsic evidence.”

Id. at 1583. Extrinsic evidence may be considered, however, if it “shed[s] useful light on the
 Case 2:05-cv-00355-DB Document 188 Filed 02/26/08 PageID.3838 Page 3 of 9




relevant art.” Phillips, 415 F.3d at 1317. Nonetheless, the intrinsic record is always the primary

source for a court to consider when construing the terms within the claims of a patent.

A.     ‘804 Patent

       1.        “Scarf Member”

       Claims 1 and 4 of the ‘804 Patent include identical language relating to the scarf member:

“a scarf member secured to said mask member along said lower edge, said scarf member being

sized to extend from said lower edge substantially the height of the neck of the user and in width

rearwardly about the neck on both sides of the head . . . .” ‘804 Patent.

       The dispute here is over what area the “scarf member” covers. The specification repeats

what is stated in the claims by explaining that the scarf member extends from the lower edge of

the mask member “substantially the height of the neck.” ‘804 Patent at 3:41-42; 4:6-7. Plaintiff

argues the phrase “‘substantially the height of the neck’ means that the scarf member extends

downwards from the lower edge of the mask member,” and “makes no comment as to whether

the scarf member extends upwards.” Plaintiff’s Reply, pg. 7. Plaintiff contends there is no

limitation on the height of the scarf member, referring to the statement in the specification that

“the scarf member may extend to under the ear 37 or over the ear 37.” ‘804 Patent at 4:13-14.

Thus, Plaintiff argues that there is “no language that limits the height of the scarf member

upwards towards the crown of the user’s head rearward of the temple area.” Plaintiff’s Opening

Brief, pg. 10.

       In contrast, Defendant points to language in the claims stating that “said upper edge [of

the mask member] extends rearwardly to the area of the temples, and wherein said lower edge

[of the mask member] is arcuate and intersects said upper edge in the area of the temples.” ‘804

Patent at 7:32-35; see also id. at 6:63-66. Also, the specification states that to the extent the
 Case 2:05-cv-00355-DB Document 188 Filed 02/26/08 PageID.3839 Page 4 of 9




height of the scarf member extends beyond the upper edge, it “has an additional height 50 so that

the scarf member 14 extends essentially between contact with the shoulder area 46 upwardly to

proximate the middle of the user’s ears.” Id. at 4:9-12. “Nowhere does the specification

describe a hood-like member that covers the top of a user’s head . . . .” Defendant’s Opening

Brief, pg. 6.

        The Court finds that the sections of the ‘804 Patent cited by Defendant support

Defendant’s proposed construction that the scarf member is limited to an area below the temples.

Because the lower edge of the mask member intersects the upper edge of the mask member in

the area of the temples, one of ordinary skill in the art would understand that the scarf member is

sized to cover only the neck and lower head below the temples. The construction that the Court

adopts for the term “scarf member” is:

        an article of clothing for protecting the neck in adverse weather which is
        secured to the lower edge of the mask member, extending no higher than the
        user’s temples, which extends from the lower edge of the mask substantially the
        height of the neck.

        2.      “Securing Means”

        The scarf member includes a “securing means,” which is included in Claims 1 and 4:

“securing means associated with said scarf member to secure the article of clothing about the

head of a user . . . .” ‘804 Patent. The parties agree that “securing means” is a means-plus-

function limitation under 35 U.S.C. § 112, ¶ 6, encompassing “a function to be performed rather

than definite structure or materials for performing that function.” Chiuminatta Concrete

Concepts, Inv. v. Cardinal Indus., Inc., 145 F.3d 1303, 1307 (Fed. Cir. 1998). Furthermore, the

parties agree that the function associated with “securing means” is “securing the article of

clothing about the head of the user.” Therefore, the Court need only identify the structure that

corresponds to the agreed upon function. See Cardiac Pacemakers, Inc. v. St. Jude Medical,
 Case 2:05-cv-00355-DB Document 188 Filed 02/26/08 PageID.3840 Page 5 of 9




Inc., 296 F.3d 1106, 1113 (Fed. Cir. 2002) (explaining that when construing a means-plus-

function limitation, the court must first identify the function and then determine what the

disclosed structure is).

        Under 35 U.S.C. § 112, ¶ 6, a patentee is allowed to claim an apparatus for performing a

function without expressing all of the possible means of accomplishing that function. However,

such limitations do not cover all possible means for accomplishing the function, but rather are

limited to those structures disclosed in the specification. Even then, the “structure disclosed in

the specification is ‘corresponding’ structure only if the specification or prosecution history

clearly links or associates that structure to the function recited in the claim.” B. Braun Med., Inc.

v. Abbott Labs., 124 F.3d 1419, 1424 (Fed. Cir. 1997) (emphasis added). “[A]lthough it is

indeed true as a general proposition that multiple structures can perform the single claimed

function, this is so only where the claim language permits, and only where the specification

clearly identifies corresponding structures.” Cardiac Pacemakers, 296 F.3d at 1117. If a patent

applicant fails to adequately disclose corresponding structure, “the applicant has in effect failed

to particularly point out and distinctly claim the invention . . . .” Id. at 1425 (citing In re

Donaldson Co., 16 F.3d 1189, 1195 (Fed. Cir. 1994)).

        The pertinent portion of the specification states that “[a]lthough a variety of snaps, strings

or other fastening devices may be used, the embodiment here illustrated employs VELCRO . . .

.” ‘804 Patent at 4:60-62. VELCRO is described as a “hook and pile structure” that is “sized in

height and in width to provide adjustability for the user.” Id. at 4:64-66. Accordingly,

Defendant argues that the corresponding structure is limited to snaps, strings, and “hook and

pile” devices, such as VELCRO. Plaintiff argues, however, that the corresponding structure

covers “any arrangement” for securing the left and right sides of the scarf member to each other,
 Case 2:05-cv-00355-DB Document 188 Filed 02/26/08 PageID.3841 Page 6 of 9




including stitching. In support of this argument, Plaintiff points out that snaps do not allow the

user to adjust the fit of the clothing; similarly, one having ordinary skill in the art would

recognize that stitching the left and right portions of the scarf member serves the same function

as snapping together the ends of the scarf member.

       While no one disagrees that stitching serves essentially the same purpose as snaps,

Plaintiff’s argument has its own loose ends. Plaintiff fails to recognize that the structure

corresponding to the function must be disclosed in the specification and clearly linked to the

stated function. Stitching is disclosed in the specification, but only when describing how the

mask member is attached to the scarf member, not how the scarf member ends are secured to

each other.

       To secure the scarf member 14 to the mask member 12, the outside or front 102 of
       the scarf member 14 is positioned on the front 104 of the mask member 12. The ends
       106 and 108 are positioned proximate each other or in general alignment. The
       securement is then effected by stitching the ends 106 and 108 together with thread
       110.

‘804 Patent at 3:17-23. In the second paragraph of the third column, stitching is the sole method

disclosed for attaching the scarf and mask member to each other. Yet, when the specification

describes the means used for attaching the ends of the scarf member together, alternative

structures are disclosed and stitching is omitted. Therefore, one skilled in the art would

understand that stitching is disclosed in the specification, but clearly not linked to the function of

securing the scarf member about the head of the user.

       Similarly, Plaintiff’s argument that “other fastening devices” encompasses alternative

means, i.e., “any arrangement” including stitching, is erroneous. Again, the structure in a

means-plus-function limitation must be disclosed; there is no disclosure of any structure at all in

“other fastening devices.” See Cardiac Pacemakers, 296 F.3d at 1117 (requiring that the
 Case 2:05-cv-00355-DB Document 188 Filed 02/26/08 PageID.3842 Page 7 of 9




specification clearly identify corresponding structures). This generic phrase is too imprecise and

lacks specificity; therefore, the Court construes “securing means” to mean:

        snaps, strings, and “hook and pile” devices, such as VELCRO.

B.     ‘690 Patent

       1.      “Sport Goggles For Positioning”

       The language of claim 1 requires “sport goggles for positioning over the eyes of a user,

said sport goggles having a height, a width.” ‘690 Patent. The parties’ primary dispute is over

whether “for positioning” requires that the sport goggles be placed over the eyes of the user.

Prior to addressing this issue, however, the Court will address whether “sport goggles”

encompasses sunglasses.

       Defendant argues that “sport goggles” indicates a specific type of eyewear that is

protective in nature to shield one’s eyes, particularly in sport activities. The specification

supports this. “That is, the sport goggles 80 typically have at least an upper edge portion to rest

upon the forehead of the user.” Id. at 5:46-48. Goggles are protective in nature because of its

lens and the frame that rests upon the forehead, extends over the bridge of the nose, and covers

the perimeter of the eye area. One skilled in the art would understand that the plain meaning of

goggles does not include sunglasses. The Court concludes that “sport goggles” does not include

sunglasses.

       Next, the Court will address whether “for positioning” means that the sport goggles must

be placed over the eyes of the user, as Defendant argues, or whether “for positioning” means that

the goggles “are positionable or capable of being positioned.” The difference between the

parties’ proposed constructions is significant. According to Plaintiff, the ‘690 Patent

encompasses a ski mask and goggles that are merely available for use or are capable of being
 Case 2:05-cv-00355-DB Document 188 Filed 02/26/08 PageID.3843 Page 8 of 9




positioned over the mask.

       The Court finds that the prosecution history is critical here. When Plaintiff originally

prosecuted the ‘690 Patent, the claims included a mask member and a head member without

goggles. Yet those claims were rejected by the PTO as obvious over the prior art. The

examiner’s rejection was upheld on appeal to the Board. Plaintiff subsequently added more

limitations, including Claim 24, a “combination” of protective clothing and sport goggles: “1. A

combination of a sport goggle and an article of protective clothing comprising: sport goggles for

positioning over the eyes of a user, said sport goggles having a height, a width and means for

holding said sport goggles about the head of a user . . . .” ‘690 Patent (emphasis added).

Because of the new added limitation, the ‘690 Patent was issued.

       In addition to the prosecution history, the claim language itself – “sport goggles for

positioning” – indicates that sport goggles are actually a required part of the invention, not

merely an option. The fact that the language is there at all is worthy of consideration.

Moreover, the Court finds that the way in which sport goggles and clothing are represented as “a

combination” does not mean that sport goggles are simply available or capable of being worn. If

this were true, then the inclusion of “sport goggles” would be superfluous. In essence, any

article of clothing is “capable” of being worn; i.e., one who wears the mask is of course free to

wear a ski hat on top of the head member portion of the mask, but any inclusion of a “hat” need

not be included in the claims of the patent.

       Although the Court understands that it was likely Plaintiff’s intent that goggles were an

option under the ‘690 Patent, the plain language of the claims and the prosecution history makes

it clear that sport goggles must be placed over the eyes of the user. Were the Court to construe

the claim any other way, then the Court would be defining the scope of the claims the same way
 Case 2:05-cv-00355-DB Document 188 Filed 02/26/08 PageID.3844 Page 9 of 9




in which the claims were represented to the PTO and Appeal Board, who already determined that

such a patent was invalid and obvious over the prior art. Therefore “sport goggles for

positioning” excludes sunglasses and:

       the sport goggles must be placed over the eyes of the user.

                  III. Defendant’s Motion for Partial Summary Judgment

                          that Seirus’ Trade Dress Is Not Protectable

       Plaintiff is also seeking trade dress protection for its face protection products. However,

Defendant argues in its motion for partial summary judgment that Plaintiff’s trade dress is

functional, and therefore not protectable as trade dress under the Lanham Act or state law.

Defendant points to the expired ‘204 Patent and statements made by Plaintiff in its interrogatory

answer concerning the scope of the trade as evidence of the trade dress’s functionality. The

Court, however, finds there exist genuine issues of material fact regarding the trade dress issue.

Defendant’s motion for partial summary judgment is therefore DENIED.

                     IV. Plaintiff’s Motion for Leave to File Excess Pages

       On the day that the parties’ reply briefs on claim construction issues were due, Plaintiff

filed an overlength brief at the same time it filed the Motion for Leave to File Excess Pages.

Although Defendant filed a response, it did not oppose the motion. Accordingly, the Court

hereby GRANTS the motion.

       IT IS SO ORDERED.

       DATED this 26th day of February, 2008.



                                                     _____________________________

                                                     Dee Benson
                                                     United States District Judge
